Case 3:15-cv-07658-MAS-LHG Document 945 Filed 02/10/22 Page 1 of 2 PageID: 32074



    UNITED STATES DISTRICT COURT
    DISTRICT OF NEW JERSEY


    IN RE VALEANT PHARMACEUTICALS                        Case No. 3:15-CV-07658-MAS-LHG
    INTERNATIONAL, INC. SECURITIES
    LITIGATION
                                                         JUDGE MICHAEL A SHIPP
                                                         JUDGE LOIS H. GOODMAN

    This Document Applies To:                            JUDGE DENNIS CAVANAUGH, RET.
                                                         SPECIAL MASTER
    No. 3:15-CV-07658-MAS-LHG
                                                         NOTICE OF WITHDRAWAL OF
                                                         ALEXANDER B. MCLAMB



         Notice is hereby given that Alexander B. McLamb hereby withdraws as pro hac vice counsel

  for defendant PricewaterhouseCoopers LLP (“PwC”). PwC shall continue to be represented by:

  A. Ross Pearlson, Esq. (NJ ID #041851994)
  Melissa F. Wernick, Esq. (NJ ID #033642010)
  CHIESA SHAHINIAN & GIANTOMASI PC
  One Boland Drive
  West Orange, NJ 07052
  Tel: (973) 325-1500
  Fax: (973) 325-1501

  Philip S. Beck, Esq. (pro hac vice)
  Mark L. Levine, Esq. (pro hac vice)
  Christohpr D. Landgraff, Esq. (pro hac vice)
  Jason C. Murray, Esq. (pro hac vice)
  BARTLIT BECK LLP
  Courthouse Place
  54 West Hubbard Street
  Chicago, IL 60654
  Tel: (312) 494-4400
  Fax: (312) 494-4440

  Kenneth Y. Turnbull, Esq. (pro hac vice)
  KING & SPALDING LLP
  1700 Pennsylvania Avenue, NW
  Washington, DC 20006
  Tel: (202) 737-0500
  Fax: (202) 626-3737
Case 3:15-cv-07658-MAS-LHG Document 945 Filed 02/10/22 Page 2 of 2 PageID: 32075




  Ashley Depalma, Esq. (pro hac vice)
  KING & SPALDING LLP
  1185 Avenue of the Americas
  New York, NY 10036
  Tel: (212) 556-2100
  Fax: (212) 556-2222

  Dated: February 10, 2022


                                            /s/ A. Ross Pearlson
                                            A. Ross Pearlson

                                            CHIESA SHAHINIAN & GIANTOMASI PC
                                            One Boland Drive
                                            West Orange, NJ 07052
                                            Telephone: (973) 530-2100
                                            Facsimile: (973) 530-2300
                                            Attorneys for Defendant
                                            PricewaterhouseCoopers LLP




                                        2
